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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                   :
                                           :
              v.                           :    CRIMINAL NO. 21-cr-399 (RDM)
                                           :
ROMAN STERLINGOV,                          :
                                           :
                     Defendant.            :

                                           ORDER

       Upon consideration of the Government’s Motion To Quash Defense Subpoena to Former

Government Prosecutor Lee, it is hereby,

       ORDERED, that the Defendant’s subpoena to Youli Lee shall be quashed.

Dated this ______ day of August, 2023.




                                                RANDOLPH D. MOSS
                                                UNITED STATES DISTRICT JUDGE
